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            EXHIBIT X
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                                                                 AN


                AMERICAN                                          DICTIONARY
                                                             0,
  EIN GLISH                                                      LANGUAGE;
                                                         CONTAINING


     TILE WHOLE VOCABULARY OF THE FIRST EDITION IN TWO VOLUMES QUARTO; THE ENTIRE CORRECTIONS
                   AND IMPROVEMENTS OF THE SECOND EDITION IN TWO VOLUMES ROYAL OCTAVO;


                                               TO     WHICH       IS     PREFIXED



                      AN        INTRODUCTORY                               DISSERTATION
     ON THE ORIGIN, HISTORY, AND CONNECTION, OF THE LANGUAGES OF WESTERN ASIA AND EUROPE, WITH
                      AN EXPLANXIION OF THE PRINCIPLES ON WHICH LANGUAGES ARE FORMED.




                                 BY NOAH WEBSTER ) LL .D.,
                                                      • •7
  Member of the American Philosophical Society in Philadelphia; Fellow of the American Academy of Arts and Sciences in Massachusetts;
       Member of the Connecticut Academy of Arts and Sciences; Fellow of the Royal Society of Northern Antiquaries in Copenhagen;
               Member of the Connecticut Historical Society; Corresponding Member of the Historical Societies in Massachusetts,
                   New York, and Georgia; of the Academy of Medicine in Philadelphia, and of the Columbian Institute
                                  in Washington; and Honorary Member of the Michigan Historical Society.




                                      GENERAL SUBJECTS OF THIS WORK.
 I.—ETYMOLOGIES OF ENGLISH WORDS, DEDUCED FROM AN EXAMINATION AND COMPARISON OE' WORDS OF CORRESPONDING ELE-
      MENTS IN TWENTY LANGUAGES OF ASIA AND EUROPE.
II.—THE TRUE ORTHOGRAPHY OF WORDS, AS CORRECTED BY THEIR ETYMOLOGIES.
IIL—PRONUNCIATION EXHIBITED AND MADE OBVIOUS BY THE DIVISION OF WORDS INTO SYLLABLES, BY ACCENTUATION, BY
      MARKING THE SOUNDS OF THE ACCENTED VOWELS, WIIEN NECESSARY, OR BY GENERAL RULES.
IV.—ACCURATE AND DISCRIMINATING DEFINITIONS, ILLUSTRATED, WHEN DOUBTFUL OR OBSCURE, BY EXAMPLES OF THEIR USE ,
      SELECTED FROM RESPECTABLE AUTHORS, OR BY FAMILIAR PHRASES OF UNDISPUTED AUTHORITY.




                                 REVISED                   AND            ENLARGED,

                                          BY CHAUNCEY A. GOODRICH,
                                               PROFESSOR    IN   YALE    COLLEGE.     ._••

                                                                                    ••••


    WITH PRONOUNCING VOCABULARIES OF SCRIPTURE, CLASSICA, AND GEOGRAPHICAL NAMES.

                                            TO   WHICH        ARE       NOW    ADDED



                          PICTORIAL                          ILLUSTRATIONS,
     TABLE OF SYNONYMS, PECULIAR USE OF WORDS AND TERMS IN THE BIBLE,                            APPENDIX     OF NEW -WORDS,
               PRONOUNCING TABLE OF NAMES OF DISTINGUISHED PERSONS, ABBREVIATIONS, LATIN,
                                       FRENCH, ITALIAN, AND SPANISH PHRASES, ETC.




                                         SPRINGFIELD,                          MASS. -
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                                                                 1860.
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                                                                                                  Ana




                                    ENTERED ACCORDING TO ACT OF CONGRESS, IN THE YEAR 1840.

                                                  By NOAH WEBSTER, LL. D.,

                           IN THE CLERK'S OFFICE OF THE DISTRICT COURT OF THE DISTRICT OF CONNECTICUT.



                                    ENTERED ACCORDING TO ACT OF CONGRESS, IN THE YEAR 1847,

                                            BY GEORGE AND CHARLES MERRIAM,

                          IN THE CLERK'S OFFICE OF THE DISTRICT COURT OF THE DISTRICT OF MASSACHUSETTS.



                                   ENTERED ACCORDING TO ACT OF OONGRESS,     IN THE YEAR 1856,

                                       BY EMILY W. ELLSWORTH, JULIA W. GOODRICH,
                                          WILLIAM G. WEBSTER, ELIZA S. W. JONES,
                                                     AND LOUISA WEBSTER,

                           IN THE CLERK'S OFFICE OF THE DISTRICT COURT OF THE DISTRI CT OF CONNECTI CUT



                                    ENTERED ACCORDING TO ACT OF CONGRESS, IN THE YEAR 1859.

                                                     BY G. & C. MERRIAM,

                          IN THE CLERK'S OFFICE OF: THE DISTRICT COURT OF THE DISTRICT or MASSACHUSETTS.




                                                     STEREOTYPED AT THE
                                         BOSTON TYPE AND STEREOTYPE FOUNDRY.

                MANUFACTURED BY
            CASE , LOCKWOOD S; CO .,
                 HARTFORD, CONN.
                                                                         Case 1:25-cv-10139-LTS                                                Document 5-25                                  Filed 01/21/25                Page 4 of 4

                                                                                                 JUP                                                                      JUS
                         JUN
                                                                               JUNCTION, it. [Fr., from L. junctio, from jungo, to JUP-P0ai ,,re. [Fr. japan; It. g•itikbone.]
  iaiessr nd astrup of sugar, of extemporaneous prep_                            join.]                                                                      A short, close coat.                        Dryden.
  ""•-                            as avehicle to other forms of           edi-       1. The act or operation of joinina; as, the junction JO'RAT, n. [Fr., from L. juratus, sworn, from jure,
  anda*,'"'s '                                         Frier. Qiiincy.
                                                                 nn
                                                           of the year , as      of two armies or detachments.                                            to swear.]
  •          -                  Mau the old account                       ,          2. Union; coalition ;combination.                                       In England, a magistrate in some corporations; an
jf......to.
   L                b!,...i i    ititin Cesar, which continue d to be                3. The place or point of union.                                      alderman or an assistant to a bailiff.           Eucyc.
            ci Enfiand till Iifft, when the Gregorian year, JUNCTLIRE, n. [L. junctura ;Sp. juntura; It. giun-
                                                                                                                                                        JVRA-TO-ItY, a.          [Fr. juratoiee, front L. juro, to
  •            fo ie, wan adepted.                                               tura; front L. jungo, to join.]                                          swear.]
        "— led                cal        also Canikm, between Venetia                L. A joining; union; amity; as, the juncture of
                                                              D'Anville.                                                                                     Comprislag an oath; as, jurat.,.. eaution. [Little
                                                                                  hearts. [Little rtsed.]                         King Charles.           used.]
           Seritug!.
      Jabs+ Period. See Promo.                                                       2. A union of two bodies; a seam ;particularly, a Jr RE DI /17.TrO, [L.] By divine right.
              • A .         0 an fish belonging to the Wrasse fam-
                                                                                 joint or articulation.                                      Eacyc.     JU-RID'IC-AL, a. [L. juridices; jus, juris, law, lino
   iki,ef a beautiful violet color.                          Partington.             3. The line or point at which two bodies are joined.                 dies, to pronounce.]
  cLLS, a [Cr. iovNec, ahandful or bundle.]                                                                                                   Boyle.          1. Acting in the distribution ofjustice ;pertaining
j      I. to botany, a catkin or ament, a species of inflo-                          4. A point of time; particularly, a point rendered                   to ajudge.
   rewrote consisting of scales, under which stand
                                                                                  critical or important by a concurrence of circum-                          2.  Used in courts of law or tribunals of justice.
   sowers arranged along a stalk, as in hazle, birch,
                                                                                  stances.                                                Addison.                                                           Hale.
                 &e.                                             .711artyn.
                                                                               RINE, n. [L. junius; Fr. juin ; It. giugno; Sp. ju- JII-RID'IC-AL-LY, adv. According to forms of law,
   •I A roils of multiped insects, of the order of Ap-
                                                                                  nio.]                                                                   or proceedings in tribunals of justice; with legal au-
   ter,, of asemi-cylindrical form, with moniliform an-
                                                                                      The sixth month of the year, when the sun enters                    thority.
   tenna, and two articulated palpi.                               Encyc.         the sign Cancer.
                       The neventh month of the year, during                                                                                            JU-RIS-CON'SULT, to. [L. jurisconstatits; jots and
                                                                               JO.NCA-TING, ft. A kind of early apple which ri-                           consultus, consul° ' to consult.]
   wokh die mm enters the sign 1,,ers It is so called
                                                                                  pens in June.                                             P. Cyc.           A man learned in the law; acounselor at law; a
   firm Moo, the surname of Caius Cesar ' who was
                                                                               JUN"GLE, (junegl,) N.                 [Hindoo.]       In Ilindostan,        master of Roman jurisprudence, consulted on the in-
   t••111 in this mouth.                   Before that time, this month
                                                                                  land mostly covered with forest-trees, brush-wood,                       terpretation of the laws.                        Ettcye.
   a-united Quintals, or the fifth month, according to
                                                                                  &c., or coarse, reedy vegetation, but not wholly un- JU-RIS-DICTION, rt. [Fr., from L. jurisdictio ;jug,
   the u1,1 ROONUI calendar, in which March was the
                                                                                   inhabited ; sometimes equivalent to COUNTRY, as                        juris, have, and dictio, from dice, to pronounce; It
   firel usooth of the year.                                                       distinguished from Vueetoss.                            Malcom          giuridizione; Sp. jurisdiccione; Port. jurisdit;ain.]
                                       n. The name of certain species
                                                                                JUN"GLY, a. Consisting of jungles ;abounding with                             1. The legal power or authority of doing justice
   or Titania. The elate July-flower is of the genus
                                                                                  jungles.                                             Asia. Res.          in cases of complaint; the power of executing the
    Dianthus; the queen's Julti-flower, of the genus Ides-
                                                                                JOW1OR, (jan'yor,) a. [L., from juvenis, young; qua-                       laws and distributing justice.       Thus we speak of
   pens ;and the stock July-flower, of the genus Chef-
    tooth's.          (See GILL I-FLOWER.1                             Lee.        si juvenior.]                                                           certain suits or actions, or tile cognizance of certain
                                                                                      1. Younger; not as old as another; as, ajunior                       crimes, being within the jurisdiction of a court; that
 je MART, n. [Fr.] Th e offspring of a bull and a
                                                                    Locke.         partner in a company. It is applied to distinguish                      is, within the limits of their authority or commission.
 113113Lr., r. t. [Chaucer, jombre.] To mix in a con-                              the younger of two persons bearing the same name                        Inferior courts have jurisdiction of debt and trespass,
    Nam' mass; to put or throw together without order.                             in one family or town, and opposed to ELDER; as,                        or of smaller offenses; the supreme courts have pa
                                                                                   John Doe, junior.                                                       risdiction of treason, murder , and other high crimes.
    It Is often followed by together.
                                                                                      2. Noting the third year of the collegiate course in                 Jurisdiction is secular or ecclesiastical.
        Oar es! &Dome how apt that la topentble together passages or               American colleges, or the first year in the theological                    2. Power of governing or legislating. The legis-
             &epee.                                                   Lo e.
                                                                                   seminaries.                                                             lature of one State can exercise no jurisdiction in an-
 Jr,1111.F., Li. To meet, mix, or unite in a confused JON'101t, n. A person younger than another.                                                          other.
    winner.                                                          Swift.                                                                                   3. The power or right of exercising authority.
                                                                                •             The fools, my Juniors by ayear.
 JUYIILE, n. Confused mixture, mass, or collection,                                                                                                        Nations claim exclusive jurisdiction on the sea, in
    without order.                                                   Swift.           2. One In the third year of his collegiate course in                 the extent of a marine league from the main land
        I. Asmall cake, in shape like aring.                                       an American college, formerly called JUNIOR SOPHIS-                     or shore.
 JI:WEILF.D, pp. or a. Mixed or collected in aconfused                             TER. [See SoPHISTER.]                                                      4. The limit within which power may be exer-
    mar,                                                                              Also, one in the first year of his course at atheo-                  cised.
 li•SIBLFeSIENT, n. Confused mixture. [Not in use.]                                logical seminary.                                                          Jurisdiction in its most general sense, is the power
 BISIILER, a. One who mixes things in confusion.                                JON-LOWL-TV, n. The state of being junior.                                 to make, declare, or apply the law,• when confined
                           ppr. Putting or mixing in a confused                                                                           Bullokar.        to the judiciary department, it is what we denominate
                                                                                JOWL-PER, n. [L. juniperus; It. ginepro; Fr. ge-                           the judicial power, the right of administering justice
                                    adv. In aconfused manner.                      nevre; Sp. eziebrod                                                     through the laws, by the means which the laws have
 1fettlAT, n. [Fr., from L. jamentam, a beast.]                                        A tree or shrub, Jun iperus communis, bearing fruit                 provided for that purpose. Jarisdiction is limited to
         Abeard of burden. [Mit used.]                             Brown.          of a bluish color, of a warm, pungent, sweet taste,                     place or territory, to persons, or to particular subjects.
 WM?, r.                  [Qu. the root of It. zampillare, to spring.]             yielding, when fresh, by expression, a rich, sweet,                                                                Da Ponceau.
         I. To limp ;to skip; to spring. Applied to men, it                        aromatic juice. They are useful carminatives and JU-RIS-DICTION-AL, a. Pertaining to jurisdiction;
    signifies to spring upward or forward with both feet,                                                                                                  as, jurisdictional rights.
                                                                                   stomachies. The wood of the tree is of a reddish
    in distinction from lisp, which signifies to spring
                                                                                   color, hard and durable, and is used in cabinet work JU-RIS-DICTIVE, a. Having jurisdiction. .ALIton.
     web one lout. A man jumps over a ditch; a beast                               and veneering. The oil of juniper mixed with that JU-RIS-PRO ,DENCE, n. [Fr., from L. jurispruderitia ;
    janps over a fence. A man jumps upon a horse; a                                                                                                        jus, law, and prudentia, science.]
                                                                                   of nuts, makes an excellent varnish ;and the resin
     suit pimps front nick to rock.                                                                                                                            The science of law; the knowledge of the laws,
                                                                                   powdered is used under the name of pounce. This
         I. 'rosining over any tiling; to pass to at a leap.                                                                                                customs, and rights of men in astate or conununity,
                                                                                   oil is also used to give to gin its peculiar flavor.
         we we tale, presume agreat deal, aud so jump to the can-                                                                             Racy!.        necessary for the due administration ofjustice. The
              dela:It.                                            Spectator.
                                                                                JUNK, n.. [L. joints, It. giunco, Sp. junco, Fr. jonc,                      study of jurisprudence, next to that of theology, is the
         ("Tonle,' e life to come                      in Shakspeare, is to         a bulrush, of which ropes were made in early ages.]                     most important and useful to men.
     n.A        reresshhaappee,,thas one does in leaping suddenly.                     1. Pieces of old cable or old cordage, used for mak- JU-RIS-PRO'DENT, a. Understanding law. West.
                                                              Rich. Diet.)          ing points, gaskets, mats, Sec., and when untwisted JU-RIS-PRU-DENTIAL, a. Pertaining to jurispru-
        3. To bound ;to pass from object to object; to jolt.                        and picked to pieces, it forms oakum for filling the                    dence.                                            Ward.
         Ts. 04, of the rattling of the wheels, and of the prancing                 seams of ships.                                     .71thr. Diet.    JO ,RIST, n. [Fr. jurists; IL giurista; Sp. juriatai
                         awl of the jumping chariots.—Nahurn                         *2. A ship used int China; a Chinese vesseL [An                        from L. jus, poi; law.]
         4. To agree; to tally ;to coincide.                                        Eastern word.]                                                             1. A man who professes the science of law; one
              lo swot sort kjuntpa with my humor.                       Shah.          3. A thick piece. [See Cumin.]                                       versed in the law, or more particularly, in the civil
                                                                                JUNIVET, n. [See JUNCATE.] A sweetmeat. Shalt.                              law; a civilian.                                 Baton.
          [This use of the word is now vulgar, and in Amer-
                                                                                       2. A stolen entertainment.                                              2. One versed in the law of nations, or who writes
     lea, Ithink, is confined to the single phrase, to jump                                                                                                 on the subject.
                                                                                JUNIVET, it. E To feast in secret; to make an enter-
                                                                                    tainment by stealth.                                        Swift.   JO ,ROR, n. [L. jurator; or rather juro, to swear.]
  JUMP, r.                          pass by aleap; to pass over eagerly                                                                                        One that serves on a jury; one sworn to deliver
                                                                                       2. To feast.
     or
     stand heady; as, to jump a stream ;but aver is under-                                                                                                  the truth on the evidence given him concerning any
                                                                                       Job's children junketed and feasted together often.       South.
                                                                                                                                                            matter in question or on trial.
  JOIr,               The act ojumping;  r             a leap; a spring; a JOWO, n. * In mythology, the name of the Latin divin- JOOtY, is. [Fr. jurd, sworn; L. jurq, to swear.]
  juiteALluckir chance.                                                             ity who presided over marriages, and who was sup-                          A number of freeholders, selected in the manner
                                                                                    posed to protect married women.                                         prescribed by law, impanneled and sworn to inquire
                                                                                       2. In astronomy, one of the small planets or aste-                   into and try any matter of fact, and to declare the
      bz:,r:t.inad,,tofriojOrfe4 OrIL      l
                                           im  berba
                                             giub  sia
                                                     lys or waistcoat worn
                                                                                    roids which revolve round the sun between the orbits                    truth on the evidence given them in the case. Grand
                                                                                    of Mars and Jupiter.                                     Braude.       juries consist usually of twenty-four freeholders at
  11:• P     Iadv. ,,[from the verb l'u p, to agree or tally.i
                                                                                JT/N ,TA, Th. A grand Spanish council of state.                             least, and are summoned to try matters alleged in
  Irane   r42  aIY;
              sm,     ,,as ,      julep at thedeld of night. [Ob s.                                                                                         indictments.      Petty juries, consisting usually of
                                                                                JUN ,TO, is. [Sp. junta, a meeting or council, from L.
  WIthiE rta . 41 1               4 i) PP.    Passed by a l eap.        [Soak.
  symp.v..            n, One who jump s.                                           junctus, joined; It. giunto.]                                            twelve men, attend courts to try matters of fact
                        P.!". _Leaping; sprin gi        ng; bounding.                  1.  Primarily,    a  select  council    or assembly,       which     in  civil  causes,  and to decide both the law and
                                                                                    deliberates in secret on any affair of government.                      the fact in criminal prosecutions. The decision of
                                  The act of leaping or springing.                                                                                          a petty jury is called a verdict.
                                                                                    In a good eeitee, it is not used in English ; but
                   ,,,, ,   ..i.. , [It.. emirate, cream, cheese; Fr.                                                                                          In addition to these, there are juries of inquest,
     i.;7,. 4........._ 01 .1 .kind of cream cheese served in a                     hence,
                                                                                       2. A cabal; a meeting or collection of men com-                      which are summoned occasionally in cases of sud-
      se taxesu.̀,",""":, ar      e° n.en, and for that reason so called,                                                                                   den   or violent death, to examine into the cause.
                           made in a frail or basket of rushes; L.                  bined for secret deliberation and intrigue for party
                  arush.]                                                           purposes; a faction; as, a junto of ministers.                       JO'RV-MAN, no. One who is impanneled on a jury
                  eneese-eake ,          •a kind• of sweetmeat of curds                                                                                     or  who   serves as a juror.
      ,,...L
           1. A,za,..

                                                                                 JCPI-TER, n.* [L., the air or heavens; Jovis pater.]                    AYR -IT-MAST, n. A mast erected in a ship, to supply
                                                                  Johnson.            *Is The supreme deity among the Greeks and Ro-                        the  place  of one carried away in a tempest or an en-
           ' ..,.;ay
               AIonise  kind of delicate food.                      .111ilion.
                                                                                                                                                            gagement, &c.       The most probable origin of the
       iri. qt, r,jus ... priv ate entertainment [I t i                  s now      mans.
   JtNssou s :ItTa                                                                     2. One of the superior planets, remarkable for its                   word jury, in this compound,. is that proposed by
                                                                                    brightness. Its diameter is about eighty-nine thou-                     Thomson, viz. from the Fr. lour, day, quasi jourd,
       arum                 '4      Lt-s laaceita or juneosus, from *mug,                                                                                                                                               •
           hin 4aarnialb....— ni,tp.jule ...d.]                                     sand miles; its distance from the sun, tour hundred                     temporary, or from L. juvare, to assist.
                                                                                    and ninety millions of miles, and its revolution round jUS GENITI-UAI,(-she-um,) [L.] The law of nations.
                                                                                    the sun, a little less than twelve years.                            JUST, a. [Fr. jusis; Sp. justo ;‘,IL gaud° L. justus.

                              TONE, BULL, ENITE.— AN' ,GER, VP ,CIOUS.—C as K; basJi S as Z                                               CH as SH ; TH as in THIS.


                                                         *See Pickoial Illu.grations.                            tSee Table of SyitaltylitS.                                  635
